Case 20-20425-GLT     Doc 157 Filed 06/01/20 Entered 06/01/20 14:46:51 Desc Main
                             Document      Page 1 of 1
                                                                  FILED
                                                                  6/1/20 2:19 pm
                                                                  CLERK
                  IN THE UNITED STATES BANKRUPTCY COURT U.S. BANKRUPTCY
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIACOURT - :'3$
   IN RE:

   VIDEOMINING CORPORATION,                       Bankruptcy No. 20-20425-GLT

                  Debtor.                         Chapter 11

   ONMYODO, LLC,                                  Document No.

                  Applicant,                                           150
                                                  Related to Doc. No. 127
         vs.

   NO RESPONDENT.


                                 ORDER OF COURT

         Upon consideration of the foregoing Interim Application of Onmyodo, LLC

   as Financial Consultant to the Debtor for the Period of February 4, 2020 through

   April 30, 2020, it is hereby ORDERED, ADJUDGED and DECREED that the

   Applicant, Onmyodo, LLC be, and hereby is, granted fees in the amount of

   $31,745.00 and costs in the amount of $-0-.


                 Robert Lampl, Esq.


   D
   Da
   Date:__________________
    atte
       e
       e::__________________               ________________________________
                                           __________________________
                                           Gr
                                           G reg
                                              egory L. Taddonio
                                           Gregory      Taddd
                                                            doonio
                                           Un
                                           U
                                           United
                                            nit
                                              ited
                                                ed States
                                                   Sta
                                                     atte
                                                        es Bankruptcy
                                                           Ba
                                                           Bank
                                                              nkrru
                                                                  upt
                                                                   ptcy
                                                                      cy C
                                                                         Court
                                                                           ourt Judge
            June 01, 2020
